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HIGHLIGHTS OF PRESCRIBING INFORMATION                                                 ----------------------- WARNINGS AND PRECAUTIONS -----------------------
These highlights do not include all the information needed to use                     •      Postmarketing data demonstrate increased risks of myocarditis and
COMIRNATY safely and effectively. See full prescribing information for                       pericarditis, particularly within 7 days following the second dose. (5.2)
COMIRNATY.                                                                            •      Syncope (fainting) may occur in association with administration of
                                                                                             injectable vaccines, including COMIRNATY. Procedures should be in
COMIRNATY® (COVID-19 Vaccine, mRNA) suspension for injection,                                place to avoid injury from fainting. (5.4)
for intramuscular use
Initial U.S. Approval: 2021                                                           ------------------------------ ADVERSE REACTIONS ------------------------------
                                                                                      •      In clinical studies of participants 16 through 55 years of age, the most
--------------------------- RECENT MAJOR CHANGES ---------------------------                 commonly reported adverse reactions (≥10%) were pain at the injection
Indications and Usage (1)                                           7/2022                   site (88.6%), fatigue (70.1%), headache (64.9%), muscle pain (45.5%),
Dosage and Administration (2)                                       8/2022                   chills (41.5%), joint pain (27.5%), fever (17.8%), and injection site
Dosage and Administration, Preparation for Administration (2.1)     8/2022                   swelling (10.6%). (6.1)
Dosage and Administration, Administration Information (2.2)         8/2022            •      In clinical studies of participants 56 years of age and older, the most
                                                                                             commonly reported adverse reactions (≥10%) were pain at the injection
--------------------------- INDICATIONS AND USAGE ----------------------------               site (78.2%), fatigue (56.9%), headache, (45.9%), muscle pain (32.5%),
COMIRNATY is a vaccine indicated for active immunization to prevent                          chills (24.8%), joint pain (21.5%), injection site swelling (11.8%), fever
coronavirus disease 2019 (COVID-19) caused by severe acute respiratory                       (11.5%), and injection site redness (10.4%). (6.1)
syndrome coronavirus 2 (SARS-CoV-2) in individuals 12 years of age and                •      In clinical studies of adolescents 12 through 15 years of age, the most
older. (1)                                                                                   commonly reported adverse reactions (≥8%) were pain at the injection
                                                                                             site (90.5%), fatigue (77.5%), headache (75.5%), chills (49.2%), muscle
----------------------- DOSAGE AND ADMINISTRATION -----------------------                    pain (42.2%), fever (24.3%), joint pain (20.2%), injection site swelling
•     COMIRNATY supplied in single dose vials or multiple dose vials with                    (9.2%), and injection site redness (8.6%). (6.1)
      gray caps and labels with gray borders MUST NOT be diluted prior to
      use. (2.1)                                                                      To report SUSPECTED ADVERSE REACTIONS, contact Pfizer Inc. at
•     For intramuscular injection only. (2.2)                                         1-800-438-1985 or VAERS at 1-800-822-7967 or http://vaers.hhs.gov.
•     COMIRNATY is administered intramuscularly as a series of 2 doses
      (0.3 mL each) 3 weeks apart. (2.3)                                              See 17 for PATIENT COUNSELING INFORMATION.

--------------------- DOSAGE FORMS AND STRENGTHS ----------------------                                                                              Revised: 8/2022
Suspension for injection. A single dose is 0.3 mL. (3)

------------------------------ CONTRAINDICATIONS ------------------------------
Known history of a severe allergic reaction (e.g., anaphylaxis) to any
component of COMIRNATY. (4)




FULL PRESCRIBING INFORMATION: CONTENTS*

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    8.1  Pregnancy




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FULL PRESCRIBING INFORMATION

1   INDICATIONS AND USAGE

COMIRNATY is a vaccine indicated for active immunization to prevent coronavirus disease 2019 (COVID-19)
caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 12 years of age and
older.

2   DOSAGE AND ADMINISTRATION

For intramuscular injection only.

The storage, preparation, and administration information in this Prescribing Information apply to
COMIRNATY supplied in:
   • single dose vials with gray caps and labels with gray borders, and
   • multiple dose vials with gray caps and labels with gray borders.

COMIRNATY supplied in vials with gray caps and labels with gray borders MUST NOT be diluted prior to
use.

2.1 Preparation for Administration

    •   COMIRNATY vials with gray caps and labels with gray borders contain a frozen suspension without
        preservative. Each vial must be thawed prior to administration. DO NOT DILUTE prior to use.
    •   Vials may be thawed in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] or at room temperature [up to 25ºC
        (77ºF)].
    •   Refer to thawing and preparation instructions in the panels below.




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Preparation Instructions
COMIRNATY Vial with Gray Cap and Label with Gray Border –
Vial Verification


                       Gray cap


                                          •   Verify that the vial of COMIRNATY has a gray cap and
                                              a label with a gray border.


      ✓ Gray cap and label with gray
                  border.

Thawing Prior to Use
                                          •   Thaw vial(s) of COMIRNATY before use either by:
                                                  o Allowing vial(s) to thaw in the refrigerator [2ºC to
                                                      8ºC (35ºF to 46ºF)].
                                                         ▪ A carton of 10 single dose vials may take
                                                             up to 2 hours to thaw
                                                         ▪ A carton of 10 multiple dose vials may
                                                             take up to 6 hours to thaw.
                                                  o Allowing vial(s) to sit at room temperature [up to
                                                      25ºC (77ºF)] for 30 minutes.
    Store in the refrigerator for up to   •   Thawed vials can be stored in the refrigerator [2ºC to 8ºC
          10 weeks prior to use.              (35ºF to 46ºF)] for up to 10 weeks prior to use.
                                          •   Thawed vials may be stored at room temperature [up to
                                              25ºC (77ºF)] for up to 12 hours prior to use.


                                          •   Before use, mix by inverting vaccine vial gently 10 times.
                                          •   Do not shake.
                                          •   Prior to mixing, the thawed vaccine may contain white to
                                              off-white opaque amorphous particles.
                                          •   After mixing, the vaccine should appear as a white to
                                              off-white suspension with no visible particles.
                                          •   Do not use if liquid is discolored or if particles are
                                              observed after mixing.

               Gently × 10




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 Preparation of Individual 0.3 mL Doses
                                                Single Dose Vial
                                                • Withdraw a single 0.3 mL dose of COMIRNATY
                                                   vaccine.
                                                • Administer immediately.
                                                • Discard vial and any excess volume.

                                          Multiple Dose Vial
                                           • Multiple dose vials contain 6 doses of 0.3 mL each.
                                           • Withdraw 0.3 mL of COMIRNATY preferentially using
                                              low dead-volume syringes and/or needles. If standard
                                              syringes and needles are used, there may not be sufficient
                                              volume to extract 6 doses from a single vial.
                                           • Administer immediately.
                                           • If the amount of vaccine remaining in a multiple dose vial
   Withdraw 0.3 mL dose of vaccine.           cannot provide a full dose of 0.3 mL, discard the vial and
                                              any excess volume.
Multiple Dose Vial – Record Date and Time of First Puncture




                                                •   Record the date and time of first vial puncture on the
                                                    COMIRNATY multiple dose vial label.
                                                •   Store between 2°C to 25°C (35°F to 77°F).
                                                •   Discard any unused vaccine 12 hours after first puncture.
      Record the date and time of first
                 puncture.
       Use within 12 hours after first
                 puncture.


2.2    Administration Information

Parenteral drug products should be inspected visually for particulate matter and discoloration prior to
administration, whenever solution and container permit. The vaccine will be a white to off-white suspension.
Do not administer if vaccine is discolored or contains particulate matter.

After withdrawing a single 0.3 mL dose of COMIRNATY, administer immediately.

2.3    Vaccination Schedule

COMIRNATY is administered intramuscularly as a series of 2 doses (0.3 mL each) 3 weeks apart.

There are no data available on the interchangeability of COMIRNATY with COVID-19 vaccines from other
manufacturers to complete the vaccination series. Individuals who have received 1 dose of COMIRNATY should
receive a second dose of COMIRNATY to complete the vaccination series.


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3     DOSAGE FORMS AND STRENGTHS

COMIRNATY is a suspension for injection. Each dose of COMIRNATY supplied in vials with gray caps and
labels with gray borders is 0.3 mL.

4     CONTRAINDICATIONS

Do not administer COMIRNATY to individuals with known history of a severe allergic reaction (e.g.,
anaphylaxis) to any component of COMIRNATY [see Description (11)].

5     WARNINGS AND PRECAUTIONS

5.1     Management of Acute Allergic Reactions

Appropriate medical treatment used to manage immediate allergic reactions must be immediately available in
the event an acute anaphylactic reaction occurs following administration of COMIRNATY.

5.2     Myocarditis and Pericarditis

Postmarketing data demonstrate increased risks of myocarditis and pericarditis, particularly within 7 days
following the second dose. The observed risk is higher among males under 40 years of age than among females
and older males. The observed risk is highest in males 12 through 17 years of age. Although some cases
required intensive care support, available data from short-term follow-up suggest that most individuals have had
resolution of symptoms with conservative management. Information is not yet available about potential long-
term sequelae. The CDC has published considerations related to myocarditis and pericarditis after vaccination,
including for vaccination of individuals with a history of myocarditis or pericarditis
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/myocarditis.html).

5.3     Syncope

Syncope (fainting) may occur in association with administration of injectable vaccines, including
COMIRNATY. Procedures should be in place to avoid injury from fainting.

5.4     Altered Immunocompetence

Immunocompromised persons, including individuals receiving immunosuppressant therapy, may have a
diminished immune response to COMIRNATY.

5.5     Limitation of Effectiveness

COMIRNATY may not protect all vaccine recipients.

6     ADVERSE REACTIONS

In clinical studies, the most commonly reported (≥10%) adverse reactions in participants 16 through 55 years of
age following any dose were pain at the injection site (88.6%), fatigue (70.1%), headache (64.9%), muscle pain
(45.5%), chills (41.5%), joint pain (27.5%), fever (17.8%), and injection site swelling (10.6%).

In clinical studies, the most commonly reported (≥10%) adverse reactions in participants 56 years of age and
older following any dose were pain at the injection site (78.2%), fatigue (56.9%), headache, (45.9%), muscle

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pain (32.5%), chills (24.8%), joint pain (21.5%), injection site swelling (11.8%), fever (11.5%), and injection
site redness (10.4%).

In a clinical study, the most commonly reported (≥8%) adverse reactions in adolescents 12 through 15 years of
age following any dose were pain at the injection site (90.5%), fatigue (77.5%), headache (75.5%), chills
(49.2%), muscle pain (42.2%), fever (24.3%), joint pain (20.2%), injection site swelling (9.2%), and injection
site redness (8.6%).

6.1   Clinical Trials Experience

Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the
clinical trials of a vaccine cannot be directly compared to rates in the clinical trials of another vaccine and may
not reflect the rates observed in practice.

The safety of COMIRNATY was evaluated in participants 12 years of age and older in 2 clinical studies
conducted in Germany (Study 1), United States, Argentina, Brazil, Turkey, South Africa, and Germany
(Study 2). Study BNT162-01 (Study 1) was a Phase 1/2, 2-part, dose-escalation trial that enrolled
60 participants, 18 through 55 years of age and 36 participants, 56 through 85 years of age. Study C4591001
(Study 2) is a Phase 1/2/3 multicenter, multinational, randomized, saline placebo-controlled, double-blinded
(Phase 2/3), dose-finding, vaccine candidate-selection and efficacy study that has enrolled approximately
46,000 participants 12 years of age or older. Of these, approximately 44,047 participants
(22,026 COMIRNATY; 22,021 placebo) in Phase 2/3 are 16 years of age or older (including 378 and
376 participants 16 through 17 years of age in the COMIRNATY and placebo groups, respectively) and
2,260 adolescents are 12 through 15 years of age (1,131 and 1,129 in the COMIRNATY and placebo groups,
respectively). Upon issuance of the Emergency Use Authorization for COMIRNATY, participants were
unblinded to offer placebo participants COMIRNATY. Participants were unblinded in a phased manner over a
period of months to offer placebo participants COMIRNATY. Study 2 also included 200 participants with
confirmed stable human immunodeficiency virus (HIV) infection; HIV-positive participants are included in
safety population disposition but are summarized separately in safety analyses. Confirmed stable HIV infection
was defined as documented viral load <50 copies/mL and CD4 count >200 cells/mm3 within 6 months before
enrollment, and on stable antiretroviral therapy for at least 6 months.

In Study 2, all participants 12 through 15 years of age, and 16 years and older in the reactogenicity subset were
monitored for solicited local and systemic reactions and use of antipyretic medication after each vaccination in
an electronic diary. Participants are being monitored for unsolicited adverse events, including serious adverse
events, throughout the study [from Dose 1 through 1 month (all unsolicited adverse events) or 6 months (serious
adverse events) after the last vaccination]. Tables 1 through 6 present the frequency and severity of solicited
local and systemic reactions, respectively, within 7 days following each dose of COMIRNATY and placebo.

Participants 16 Years of Age and Older

At the time of the analysis of the ongoing Study 2 with a data cutoff of March 13, 2021, there were
25,651 (58.2%) participants (13,031 COMIRNATY and 12,620 placebo) 16 years of age and older followed for
≥4 months after the second dose.

Demographic characteristics in Study 2 were generally similar with regard to age, gender, race, and ethnicity
among participants who received COMIRNATY and those who received placebo. Overall, among the total
participants who received either COMIRNATY or placebo, 50.9% were male, 49.1% were female, 79.3% were
16 through 64 years of age, 20.7% were 65 years of age and older, 82.0% were White, 9.6% were Black or


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African American, 25.9% were Hispanic/Latino, 4.3% were Asian, and 1.0% were American Indian or Alaska
Native.

Local and Systemic Adverse Reactions Solicited in the Study 2

In participants 16 through 55 years of age after receiving Dose 2, the mean duration of pain at the injection site
was 2.5 days (range 1 to 70 days), for redness 2.2 days (range 1 to 9 days), and for swelling 2.1 days (range 1 to
8 days) for participants in the COMIRNATY group. In participants 56 years of age and older after receiving
Dose 2, the mean duration of pain at the injection site was 2.4 days (range 1 to 36 days), for redness 3.0 days
(range 1 to 34 days), and for swelling 2.6 days (range 1 to 34 days) for participants in the COMIRNATY group.

Table 1: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 16 Through 55 Years of
             Age – Reactogenicity Subset of the Safety Population*
                              COMIRNATY                Placebo     COMIRNATY             Placebo
                                   Dose 1              Dose 1           Dose 2            Dose 2
                                    a                   a                a
                                  N =2899             N =2908          N =2682           Na=2684
                                     b                   b                b
                                   n (%)               n (%)            n (%)             nb (%)
 Rednessc
    Any (>2.0 cm)                 156 (5.4)            28 (1.0)        151 (5.6)          18 (0.7)
       Mild                       113 (3.9)            19 (0.7)         90 (3.4)          12 (0.4)
       Moderate                    36 (1.2)             6 (0.2)         50 (1.9)           6 (0.2)
       Severe                       7 (0.2)             3 (0.1)         11 (0.4)              0
           c
 Swelling
    Any (>2.0 cm)                 184 (6.3)            16 (0.6)        183 (6.8)           5 (0.2)
       Mild                       124 (4.3)             6 (0.2)        110 (4.1)           3 (0.1)
       Moderate                    54 (1.9)             8 (0.3)         66 (2.5)           2 (0.1)
       Severe                       6 (0.2)             2 (0.1)          7 (0.3)              0
 Pain at the injection sited
    Any                         2426 (83.7)          414 (14.2)      2101 (78.3)        312 (11.6)
       Mild                     1464 (50.5)          391 (13.4)      1274 (47.5)        284 (10.6)
       Moderate                  923 (31.8)            20 (0.7)       788 (29.4)          28 (1.0)
       Severe                      39 (1.3)             3 (0.1)         39 (1.5)              0
Notes: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
No Grade 4 solicited local reactions were reported in participants 16 through 55 years of age.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants with
   chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for each
   reaction was the same, therefore, this information was included in the column header.
b. n = Number of participants with the specified reaction.
c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.




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Table 2: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 16 Through 55 Years of
             Age – Reactogenicity Subset of the Safety Population*
                            COMIRNATY                 Placebo      COMIRNATY             Placebo
                                 Dose 1                Dose 1           Dose 2            Dose 2
                                  a                     a                a
                                N =2899               N =2908          N =2682           Na=2684
                                   b                     b                b
                                 n (%)                 n (%)            n (%)             nb (%)
 Fever
    ≥38.0℃                      119 (4.1)              25 (0.9)       440 (16.4)          11 (0.4)
    ≥38.0℃ to 38.4℃              86 (3.0)              16 (0.6)        254 (9.5)           5 (0.2)
    >38.4℃ to 38.9℃              25 (0.9)               5 (0.2)        146 (5.4)           4 (0.1)
    >38.9℃ to 40.0℃               8 (0.3)               4 (0.1)         39 (1.5)           2 (0.1)
    >40.0℃                           0                     0             1 (0.0)              0
 Fatiguec
    Any                       1431 (49.4)            960 (33.0)      1649 (61.5)        614 (22.9)
        Mild                   760 (26.2)            570 (19.6)       558 (20.8)        317 (11.8)
        Moderate               630 (21.7)            372 (12.8)       949 (35.4)        283 (10.5)
        Severe                   41 (1.4)              18 (0.6)        142 (5.3)          14 (0.5)
            c
 Headache
    Any                       1262 (43.5)            975 (33.5)      1448 (54.0)        652 (24.3)
        Mild                   785 (27.1)            633 (21.8)       699 (26.1)        404 (15.1)
        Moderate               444 (15.3)            318 (10.9)       658 (24.5)         230 (8.6)
        Severe                   33 (1.1)              24 (0.8)         91 (3.4)          18 (0.7)
        c
 Chills
    Any                        479 (16.5)             199 (6.8)      1015 (37.8)         114 (4.2)
        Mild                   338 (11.7)             148 (5.1)       477 (17.8)          89 (3.3)
        Moderate                126 (4.3)              49 (1.7)       469 (17.5)          23 (0.9)
        Severe                   15 (0.5)               2 (0.1)         69 (2.6)           2 (0.1)
            d
 Vomiting
    Any                          34 (1.2)              36 (1.2)         58 (2.2)          30 (1.1)
        Mild                     29 (1.0)              30 (1.0)         42 (1.6)          20 (0.7)
        Moderate                  5 (0.2)               5 (0.2)         12 (0.4)          10 (0.4)
        Severe                       0                  1 (0.0)          4 (0.1)              0
          e
 Diarrhea
    Any                        309 (10.7)            323 (11.1)       269 (10.0)         205 (7.6)
        Mild                    251 (8.7)             264 (9.1)        219 (8.2)         169 (6.3)
        Moderate                 55 (1.9)              58 (2.0)         44 (1.6)          35 (1.3)
        Severe                    3 (0.1)               1 (0.0)          6 (0.2)           1 (0.0)
                               c
 New or worsened muscle pain
    Any                        664 (22.9)            329 (11.3)      1055 (39.3)         237 (8.8)
        Mild                   353 (12.2)             231 (7.9)       441 (16.4)         150 (5.6)
        Moderate               296 (10.2)              96 (3.3)       552 (20.6)          84 (3.1)
        Severe                   15 (0.5)               2 (0.1)         62 (2.3)           3 (0.1)
 New or worsened joint painc
    Any                        342 (11.8)             168 (5.8)       638 (23.8)         147 (5.5)
        Mild                    200 (6.9)             112 (3.9)       291 (10.9)          82 (3.1)
        Moderate                137 (4.7)              55 (1.9)       320 (11.9)          61 (2.3)
        Severe                    5 (0.2)               1 (0.0)         27 (1.0)           4 (0.1)


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                                  COMIRNATY                       Placebo                COMIRNATY                     Placebo
                                     Dose 1                        Dose 1                   Dose 2                      Dose 2
                                    Na=2899                       Na=2908                  Na=2682                     Na=2684
                                     nb (%)                        nb (%)                   nb (%)                      nb (%)
 Use of antipyretic or
 pain medicationf                     805 (27.8)                 398 (13.7)                1213 (45.2)                320 (11.9)
Notes: Reactions and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
each dose.
No Grade 4 solicited systemic reactions were reported in participants 16 through 55 years of age.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants with
   chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for each
   reaction or use of antipyretic or pain medication was the same, therefore, this information was included in the column header.
b. n = Number of participants with the specified reaction.
c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity.
d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration.
e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours.
f. Severity was not collected for use of antipyretic or pain medication.

Table 3: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
             Older – Reactogenicity Subset of the Safety Population*
                             COMIRNATY                 Placebo       COMIRNATY             Placebo
                                 Dose 1                 Dose 1           Dose 2             Dose 2
                                  a                      a                a
                                N =2008                N =1989          N =1860           Na=1833
                                   b                      b                b
                                 n (%)                  n (%)            n (%)              nb (%)
 Rednessc
    Any (>2.0 cm)               106 (5.3)              20 (1.0)         133 (7.2)          14 (0.8)
       Mild                      71 (3.5)              13 (0.7)          65 (3.5)          10 (0.5)
       Moderate                  30 (1.5)               5 (0.3)          58 (3.1)           3 (0.2)
       Severe                     5 (0.2)               2 (0.1)          10 (0.5)           1 (0.1)
           c
 Swelling
    Any (>2.0 cm)               141 (7.0)              23 (1.2)         145 (7.8)          13 (0.7)
       Mild                      87 (4.3)              11 (0.6)          80 (4.3)           5 (0.3)
       Moderate                  52 (2.6)              12 (0.6)          61 (3.3)           7 (0.4)
       Severe                     2 (0.1)                   0             4 (0.2)           1 (0.1)
 Pain at the injection sited
    Any (>2.0 cm)             1408 (70.1)             185 (9.3)       1230 (66.1)         143 (7.8)
       Mild                   1108 (55.2)             177 (8.9)        873 (46.9)         138 (7.5)
       Moderate                296 (14.7)               8 (0.4)        347 (18.7)           5 (0.3)
       Severe                     4 (0.2)                   0            10 (0.5)              0
Notes: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
No Grade 4 solicited local reactions were reported in participants 56 years of age and older.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants with
   chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for each
   reaction was the same, therefore, the information was included in the column header.
b. n = Number of participants with the specified reaction.
c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.




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Table 4: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
           Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
           Older – Reactogenicity Subset of the Safety Population*
                           COMIRNATY                 Placebo       COMIRNATY             Placebo
                                Dose 1                Dose 1           Dose 2             Dose 2
                                 a                     a                a
                               N =2008               N =1989          N =1860            Na=1833
                                  b                     b                b
                                n (%)                 n (%)            n (%)              nb (%)
 Fever
    ≥38.0℃                      26 (1.3)               8 (0.4)       219 (11.8)            4 (0.2)
    ≥38.0℃ to 38.4℃             23 (1.1)               3 (0.2)        158 (8.5)            2 (0.1)
    >38.4℃ to 38.9℃              2 (0.1)               3 (0.2)         54 (2.9)            1 (0.1)
    >38.9℃ to 40.0℃              1 (0.0)               2 (0.1)          7 (0.4)            1 (0.1)
    >40.0℃                          0                     0                0                  0
 Fatiguec
    Any                       677 (33.7)            447 (22.5)       949 (51.0)         306 (16.7)
       Mild                   415 (20.7)            281 (14.1)       391 (21.0)         183 (10.0)
       Moderate               259 (12.9)             163 (8.2)       497 (26.7)          121 (6.6)
       Severe                    3 (0.1)               3 (0.2)         60 (3.2)            2 (0.1)
       Grade 4                      0                     0             1 (0.1)               0
           c
 Headache
    Any                       503 (25.0)            363 (18.3)       733 (39.4)         259 (14.1)
       Mild                   381 (19.0)            267 (13.4)       464 (24.9)         189 (10.3)
       Moderate                120 (6.0)              93 (4.7)       256 (13.8)           65 (3.5)
       Severe                    2 (0.1)               3 (0.2)         13 (0.7)            5 (0.3)
 Chillsc
    Any                        130 (6.5)              69 (3.5)       435 (23.4)           57 (3.1)
       Mild                    102 (5.1)              49 (2.5)       229 (12.3)           45 (2.5)
       Moderate                 28 (1.4)              19 (1.0)        185 (9.9)           12 (0.7)
       Severe                       0                  1 (0.1)         21 (1.1)               0
 Vomitingd
    Any                         10 (0.5)               9 (0.5)         13 (0.7)            5 (0.3)
       Mild                      9 (0.4)               9 (0.5)         10 (0.5)            5 (0.3)
       Moderate                  1 (0.0)                  0             1 (0.1)               0
       Severe                       0                     0             2 (0.1)               0
 Diarrheae
    Any                        168 (8.4)             130 (6.5)        152 (8.2)          102 (5.6)
       Mild                    137 (6.8)             109 (5.5)        125 (6.7)           76 (4.1)
       Moderate                 27 (1.3)              20 (1.0)         25 (1.3)           22 (1.2)
       Severe                    4 (0.2)               1 (0.1)          2 (0.1)            4 (0.2)
 New or worsened muscle painc
    Any                       274 (13.6)             165 (8.3)       537 (28.9)           99 (5.4)
       Mild                    183 (9.1)             111 (5.6)       229 (12.3)           65 (3.5)
       Moderate                 90 (4.5)              51 (2.6)       288 (15.5)           33 (1.8)
       Severe                    1 (0.0)               3 (0.2)         20 (1.1)            1 (0.1)




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                                    COMIRNATY                       Placebo               COMIRNATY                    Placebo
                                       Dose 1                        Dose 1                  Dose 2                     Dose 2
                                      Na=2008                       Na=1989                 Na=1860                    Na=1833
                                       nb (%)                        nb (%)                  nb (%)                     nb (%)
 New or worsened joint painc
    Any                                  175 (8.7)                  124 (6.2)                353 (19.0)                 72 (3.9)
       Mild                              119 (5.9)                   78 (3.9)                 183 (9.8)                 44 (2.4)
       Moderate                           53 (2.6)                   45 (2.3)                 161 (8.7)                 27 (1.5)
       Severe                              3 (0.1)                    1 (0.1)                  9 (0.5)                   1 (0.1)
 Use of antipyretic or
 pain medicationf                       382 (19.0)                 224 (11.3)                688 (37.0)                170 (9.3)
Notes: Reactions and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
each dose.
The only Grade 4 solicited systemic reaction reported in participants 56 years of age and older was fatigue.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants with
   chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. N for each
   reaction or use of antipyretic or pain medication was the same, therefore was included in the column header.
b. n = Number of participants with the specified reaction.
c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity; Grade 4 reactions
   were defined in the clinical study protocol as emergency room visit or hospitalization for severe fatigue, severe headache, severe
   chills, severe muscle pain, or severe joint pain.
d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration; Grade 4 emergency visit or
   hospitalization for severe vomiting.
e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours; Grade 4:
   emergency room or hospitalization for severe diarrhea.
f. Severity was not collected for use of antipyretic or pain medication.

In participants with chronic, stable HIV infection the frequencies of solicited local and systemic adverse
reactions were similar to or lower than those observed for all participants 16 years of age and older.

Unsolicited Adverse Events

Overall, 11,253 (51.1%) participants in the COMIRNATY group and 11,316 (51.4%) participants in the
placebo group had follow-up time between ≥4 months to <6 months after Dose 2 in the blinded
placebo-controlled follow-up period with an additional 1,778 (8.1%) and 1,304 (5.9%) with ≥6 months of
blinded follow-up time in the COMIRNATY and placebo groups, respectively.

A total of 12,006 (54.5%) participants originally randomized to COMIRNATY had ≥6 months total (blinded
and unblinded) follow-up after Dose 2.

In an analysis of all unsolicited adverse events reported following any dose, through 1 month after Dose 2, in
participants 16 years of age and older (N=43,847; 21,926 COMIRNATY group vs. 21,921 placebo group),
those assessed as adverse reactions not already captured by solicited local and systemic reactions were nausea
(274 vs. 87), malaise (130 vs. 22), lymphadenopathy (83 vs. 7), asthenia (76 vs. 25), decreased appetite
(39 vs. 9), hyperhidrosis (31 vs. 9), lethargy (25 vs. 6), and night sweats (17 vs. 3).

In analyses of all unsolicited adverse events in Study 2 from Dose 1 up to the participant unblinding date,
58.2% of study participants had at least 4 months of follow-up after Dose 2. Among participants 16 through
55 years of age who received at least 1 dose of study vaccine, 12,995 of whom received COMIRNATY and
13,026 of whom received placebo, unsolicited adverse events were reported by 4,396 (33.8%) participants in
the COMIRNATY group and 2,136 (16.4%) participants in the placebo group. In a similar analysis in

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participants 56 years of age and older that included 8,931 COMIRNATY recipients and
8,895 placebo recipients, unsolicited adverse events were reported by 2,551 (28.6%) participants in the
COMIRNATY group and 1,432 (16.1%) participants in the placebo group. Among participants with confirmed
stable HIV infection that included 100 COMIRNATY recipients and 100 placebo recipients, unsolicited adverse
events were reported by 29 (29%) participants in the COMIRNATY group and 15 (15%) participants in the
placebo group. The higher frequency of reported unsolicited adverse events among COMIRNATY recipients
compared to placebo recipients was primarily attributed to events that are consistent with adverse reactions
solicited among participants in the reactogenicity subset (Table 3 and Table 4).

Throughout the placebo-controlled safety follow-up period, Bell’s palsy (facial paralysis) was reported by
4 participants in the COMIRNATY group and 2 participants in the placebo group. Onset of facial paralysis was
Day 37 after Dose 1 (participant did not receive Dose 2) and Days 3, 9, and 48 after Dose 2. In the placebo
group the onset of facial paralysis was Day 32 and Day 102. Currently available information is insufficient to
determine a causal relationship with the vaccine. In the analysis of blinded, placebo-controlled follow-up, there
were no other notable patterns or numerical imbalances between treatment groups for specific categories of
non-serious adverse events (including other neurologic or neuro-inflammatory, and thrombotic events) that
would suggest a causal relationship to COMIRNATY. In the analysis of unblinded follow-up, there were no
notable patterns of specific categories of non-serious adverse events that would suggest a causal relationship to
COMIRNATY.

Serious Adverse Events
In Study 2, among participants 16 through 55 years of age who had received at least 1 dose of vaccine or
placebo (COMIRNATY =12,995; placebo = 13,026), serious adverse events from Dose 1 up to the participant
unblinding date in ongoing follow-up were reported by 103 (0.8%) COMIRNATY recipients and 117 (0.9%)
placebo recipients. In a similar analysis, in participants 56 years of age and older (COMIRNATY = 8,931;
placebo = 8,895), serious adverse events were reported by 165 (1.8%) COMIRNATY recipients and 151 (1.7%)
placebo recipients who received at least 1 dose of COMIRNATY or placebo, respectively. In these analyses,
58.2% of study participants had at least 4 months of follow-up after Dose 2. Among participants with confirmed
stable HIV infection serious adverse events from Dose 1 up to the participant unblinding date in ongoing
follow-up were reported by 2 (2%) COMIRNATY recipients and 2 (2%) placebo recipients.

In the analysis of blinded, placebo-controlled follow-up, there were no notable patterns between treatment
groups for specific categories of serious adverse events (including neurologic, neuro-inflammatory, and
thrombotic events) that would suggest a causal relationship to COMIRNATY. In the analysis of unblinded
follow-up, there were no notable patterns of specific categories of serious adverse events that would suggest a
causal relationship to COMIRNATY.

Adolescents 12 Through 15 Years of Age

In Study 2, 2,260 adolescents (1,131 COMIRNATY; 1,129 placebo) were 12 through 15 years of age. At the
time of the analysis of the ongoing Study 2 with a data cutoff of September 2, 2021, there were 1,559 (69.0%)
adolescents (786 COMIRNATY and 773 placebo) 12 through 15 years of age followed for ≥4 months after the
second dose. The safety evaluation in Study 2 is ongoing.

Demographic characteristics in Study 2 were generally similar with regard to age, gender, race, and ethnicity
among adolescents who received COMIRNATY and those who received placebo. Overall, among the
adolescents who received COMIRNATY, 50.1% were male and 49.9% were female, 85.8% were White, 4.6%
were Black or African American, 11.7% were Hispanic/Latino, 6.4% were Asian, and 0.4% were American
Indian/Alaska Native.


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Local and Systemic Adverse Reactions Solicited in Study 2
In adolescents 12 through 15 years of age after receiving Dose 2, the mean duration of pain at the injection site
was 2.5 days (range 1 to 11 days), for redness 1.8 days (range 1 to 5 days), and for swelling 1.6 days (range 1 to
5 days) in the COMIRNATY group.

Table 5: Study 2 – Frequency and Percentages of Adolescents With Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Adolescents 12 Through 15 Years of
             Age – Safety Population*
                             COMIRNATY             Placebo        COMIRNATY              Placebo
                                 Dose 1            Dose 1              Dose 2             Dose 2
                                  a                 a                   a
                                N =1127           N =1127             N =1097            Na=1078
                                   b                 b                   b
                                 n (%)             n (%)               n (%)              nb (%)
 Rednessc
    Any (>2 cm)                 65 (5.8)           12 (1.1)           55 (5.0)           10 (0.9)
       Mild                     44 (3.9)           11 (1.0)           29 (2.6)            8 (0.7)
       Moderate                 20 (1.8)            1 (0.1)           26 (2.4)            2 (0.2)
       Severe                    1 (0.1)            0 (0.0)            0 (0.0)            0 (0.0)
           c
 Swelling
    Any (>2 cm)                 78 (6.9)           11 (1.0)           54 (4.9)            6 (0.6)
       Mild                     55 (4.9)            9 (0.8)           36 (3.3)            4 (0.4)
       Moderate                 23 (2.0)            2 (0.2)           18 (1.6)            2 (0.2)
       Severe                    0 (0.0)            0 (0.0)            0 (0.0)            0 (0.0)
                           d
 Pain at the injection site
    Any                        971 (86.2)        263 (23.3)          866 (78.9)         193 (17.9)
       Mild                    467 (41.4)        227 (20.1)          466 (42.5)         164 (15.2)
       Moderate                493 (43.7)          36 (3.2)          393 (35.8)          29 (2.7)
       Severe                   11 (1.0)            0 (0.0)            7 (0.6)            0 (0.0)
Note: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose.
b. n = Number of participants with the specified reaction.
c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.

Table 6: Study 2 – Frequency and Percentages of Adolescents with Solicited Systemic Reactions, by
          Maximum Severity, Within 7 Days After Each Dose – Adolescents 12 Through 15 Years of
          Age – Safety Population*
                         COMIRNATY              Placebo          COMIRNATY               Placebo
                              Dose 1             Dose 1               Dose 2              Dose 2
                               a                  a                    a
                             N =1127            N =1127              N =1097             Na=1078
                                b                  b                    b
                              n (%)              n (%)                n (%)               nb (%)
 Fever
    ≥38.0℃                  114 (10.1)          12 (1.1)            215 (19.6)            7 (0.6)
    ≥38.0℃ to 38.4℃          74 (6.6)            8 (0.7)             107 (9.8)            5 (0.5)
    >38.4℃ to 38.9℃          29 (2.6)            2 (0.2)              83 (7.6)            1 (0.1)
    >38.9℃ to 40.0℃          10 (0.9)            2 (0.2)              25 (2.3)            1 (0.1)
    >40.0℃                    1 (0.1)            0 (0.0)               0 (0.0)            0 (0.0)
 Fatiguec
    Any                     677 (60.1)         457 (40.6)           726 (66.2)          264 (24.5)
       Mild                 278 (24.7)         250 (22.2)           232 (21.1)          133 (12.3)

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                                  COMIRNATY                      Placebo                COMIRNATY                      Placebo
                                     Dose 1                       Dose 1                    Dose 2                      Dose 2
                                    Na=1127                      Na=1127                   Na=1097                     Na=1078
                                     nb (%)                       nb (%)                    nb (%)                      nb (%)
       Moderate                    384 (34.1)                   199 (17.7)                468 (42.7)                  127 (11.8)
       Severe                       15 (1.3)                      8 (0.7)                  26 (2.4)                     4 (0.4)
 Headachec
    Any                       623 (55.3)                        396 (35.1)                  708 (64.5)                264 (24.5)
       Mild                   361 (32.0)                        256 (22.7)                  302 (27.5)                170 (15.8)
       Moderate               251 (22.3)                        131 (11.6)                  384 (35.0)                 93 (8.6)
       Severe                   11 (1.0)                          9 (0.8)                    22 (2.0)                   1 (0.1)
 Chillsc
    Any                       311 (27.6)                         109 (9.7)                  455 (41.5)                 74 (6.9)
       Mild                   195 (17.3)                          82 (7.3)                  221 (20.1)                 53 (4.9)
       Moderate                111 (9.8)                          25 (2.2)                  214 (19.5)                 21 (1.9)
       Severe                    5 (0.4)                           2 (0.2)                   20 (1.8)                   0 (0.0)
 Vomitingd
    Any                         31 (2.8)                          10 (0.9)                   29 (2.6)                  12 (1.1)
       Mild                     30 (2.7)                           8 (0.7)                   25 (2.3)                  11 (1.0)
       Moderate                  0 (0.0)                           2 (0.2)                    4 (0.4)                  1 (0.1)
       Severe                    1 (0.1)                           0 (0.0)                    0 (0.0)                  0 (0.0)
 Diarrheae
    Any                         90 (8.0)                          82 (7.3)                   65 (5.9)                  44 (4.1)
       Mild                     77 (6.8)                          72 (6.4)                   59 (5.4)                  39 (3.6)
       Moderate                 13 (1.2)                          10 (0.9)                    6 (0.5)                   5 (0.5)
       Severe                    0 (0.0)                           0 (0.0)                    0 (0.0)                   0 (0.0)
                              c
 New or worsened muscle pain
    Any                       272 (24.1)                        148 (13.1)                  355 (32.4)                 90 (8.3)
       Mild                   125 (11.1)                         88 (7.8)                   152 (13.9)                 51 (4.7)
       Moderate               145 (12.9)                         60 (5.3)                   197 (18.0)                 37 (3.4)
       Severe                    2 (0.2)                          0 (0.0)                     6 (0.5)                  2 (0.2)
                            c
 New or worsened joint pain
    Any                        109 (9.7)                          77 (6.8)                  173 (15.8)                 51 (4.7)
       Mild                     66 (5.9)                          50 (4.4)                   91 (8.3)                  30 (2.8)
       Moderate                 42 (3.7)                          27 (2.4)                   78 (7.1)                  21 (1.9)
       Severe                    1 (0.1)                           0 (0.0)                    4 (0.4)                  0 (0.0)
 Use of antipyretic or
 pain medicationf             413 (36.6)                         111 (9.8)                  557 (50.8)                 95 (8.8)
Note: Events and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after each
dose.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.
a. N = Number of participants reporting at least 1 yes or no response for the specified event after the specified dose.
b. n = Number of participants with the specified reaction.
c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity.
d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration.
e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours.
f. Severity was not collected for use of antipyretic or pain medication.




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Unsolicited Adverse Events
In Study 2, 2,260 adolescents (1,131 COMIRNATY; 1,129 placebo) were 12 through 15 years of age. Of these,
634 (56.1%) participants in the COMIRNATY group and 629 (55.7%) participants in the placebo group had
follow-up time between ≥4 months to <6 months after Dose 2 in the blinded placebo-controlled follow-up
period with an additional 152 (13.4%) and 144 (12.8%) with ≥6 months of blinded follow-up time in the
COMIRNATY and placebo groups, respectively.

A total of 1,113 (98.4%) participants 12 through 15 years of age originally randomized to COMIRNATY had
≥6 months total (blinded and unblinded) follow-up after Dose 2.

An analysis of all unsolicited adverse events in Study 2 from Dose 1 up to the participant unblinding date was
conducted. Among participants 12 through 15 years of age who received at least one dose of study vaccine,
unsolicited adverse events were reported by 95 (8.4%) participants in the COMIRNATY group and
113 (10.0%) participants in the placebo group.

In an analysis of all unsolicited adverse events reported during blinded follow-up from Dose 1 through 1 month
after Dose 2, in adolescents 12 to 15 years of age, those assessed as adverse reactions not already captured by
solicited local and systemic reactions were lymphadenopathy (9 vs. 2), and nausea (5 vs. 2).

In the analysis of blinded, placebo-controlled follow-up, there were no other notable patterns or numerical
imbalances between treatment groups for specific categories of unsolicited adverse events (including other
neurologic or neuro-inflammatory, and thrombotic events) that would suggest a causal relationship to
COMIRNATY. In the analysis of unblinded follow-up, there were no notable patterns of specific categories of
non-serious adverse events that would suggest a causal relationship to COMIRNATY.

Serious Adverse Events
In Study 2, among participants 12 through 15 years of age who had received at least 1 dose of vaccine or
placebo (COMIRNATY = 1,131; placebo = 1,129), serious adverse events from Dose 1 up to the participant
unblinding date in ongoing follow-up were reported by 10 (0.9%) COMIRNATY recipients and 2 (0.2%)
placebo recipients. In these analyses, 69.0% of study participants had at least 4 months of follow-up after
Dose 2. In the analysis of blinded, placebo-controlled follow-up, there were no notable patterns between
treatment groups for specific categories of serious adverse events (including neurologic, neuro-inflammatory,
and thrombotic events) that would suggest a causal relationship to COMIRNATY. In the analysis of unblinded
follow-up, there were no notable patterns of specific categories of serious adverse events that would suggest a
causal relationship to COMIRNATY.

6.2   Postmarketing Experience

The following adverse reactions have been identified during postmarketing use of COMIRNATY, including
under Emergency Use Authorization. Because these reactions are reported voluntarily from a population of
uncertain size, it is not always possible to reliably estimate their frequency or establish a causal relationship to
vaccine exposure.

Cardiac Disorders: myocarditis, pericarditis
Gastrointestinal Disorders: diarrhea, vomiting
Immune System Disorders: severe allergic reactions, including anaphylaxis, and other hypersensitivity reactions
(e.g., rash, pruritus, urticaria, angioedema)
Musculoskeletal and Connective Tissue Disorders: pain in extremity (arm)



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8     USE IN SPECIFIC POPULATIONS

8.1    Pregnancy

There is a pregnancy exposure registry that monitors pregnancy outcomes in women exposed to COMIRNATY
during pregnancy. Women who are vaccinated with COMIRNATY during pregnancy are encouraged to enroll
in the registry by visiting https://mothertobaby.org/ongoing-study/covid19-vaccines/.

Risk Summary

All pregnancies have a risk of birth defect, loss, or other adverse outcomes. In the US general population, the
estimated background risk of major birth defects and miscarriage in clinically recognized pregnancies is 2% to
4% and 15% to 20%, respectively. Available data on COMIRNATY administered to pregnant women are
insufficient to inform vaccine-associated risks in pregnancy.

A developmental toxicity study has been performed in female rats administered the equivalent of a single
human dose of COMIRNATY on 4 occasions, twice prior to mating and twice during gestation. These studies
revealed no evidence of harm to the fetus due to the vaccine (see Animal Data).

Data

Animal Data

In a developmental toxicity study, 0.06 mL of a vaccine formulation containing the same quantity of
nucleoside-modified messenger ribonucleic acid (mRNA) (30 mcg) and other ingredients included in a single
human dose of COMIRNATY was administered to female rats by the intramuscular route on 4 occasions: 21
and 14 days prior to mating, and on gestation days 9 and 20. No vaccine-related adverse effects on female
fertility, fetal development, or postnatal development were reported in the study.

8.2    Lactation

Risk Summary

It is not known whether COMIRNATY is excreted in human milk. Data are not available to assess the effects of
COMIRNATY on the breastfed infant or on milk production/excretion. The developmental and health benefits
of breastfeeding should be considered along with the mother’s clinical need for COMIRNATY and any
potential adverse effects on the breastfed child from COMIRNATY or from the underlying maternal condition.
For preventive vaccines, the underlying maternal condition is susceptibility to disease prevented by the vaccine.

8.4    Pediatric Use

Safety and effectiveness of COMIRNATY in individuals 12 through 17 years of age is based on safety and
effectiveness data in this age group and in adults [see Adverse Reactions (6) and Clinical Studies (14.1)].

The safety and effectiveness of COMIRNATY in individuals younger than 12 years of age have not been
established.




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8.5   Geriatric Use

Of the total number of COMIRNATY recipients in Study 2 as of March 13, 2021 (N = 22,026),
20.7% (n = 4,552) were 65 years of age and older and 4.2% (n = 925) were 75 years of age and older [see
Clinical Studies (14.1)]. No overall differences in safety or effectiveness were observed between these
recipients and younger recipients.

11 DESCRIPTION

COMIRNATY (COVID-19 Vaccine, mRNA) is a sterile suspension for injection for intramuscular use. Each
0.3 mL dose of COMIRNATY contains 30 mcg of a nucleoside-modified messenger RNA (mRNA) encoding
the viral spike (S) glycoprotein of SARS-CoV-2.

Each 0.3 mL dose of COMIRNATY supplied in vials with gray caps and labels with gray borders also includes
the following ingredients:
lipids (0.43 mg ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate),
0.05 mg 2-(polyethylene glycol 2000)-N,N-ditetradecylacetamide,
0.09 mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.19 mg cholesterol), 0.06 mg tromethamine,
0.4 mg tromethamine hydrochloride, and 31 mg sucrose.

COMIRNATY does not contain preservative.

The vial stoppers are not made with natural rubber latex.

12 CLINICAL PHARMACOLOGY

12.1 Mechanism of Action

The nucleoside-modified mRNA in COMIRNATY is formulated in lipid particles, which enable delivery of the
mRNA into host cells to allow expression of the SARS-CoV-2 S antigen. The vaccine elicits an immune
response to the S antigen, which protects against COVID-19.

13 NONCLINICAL TOXICOLOGY

13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility

COMIRNATY has not been evaluated for the potential to cause carcinogenicity, genotoxicity, or impairment of
male fertility. In a developmental toxicity study in rats with COMIRNATY there were no vaccine-related
effects on female fertility [see Use in Specific Populations (8.1)].

14 CLINICAL STUDIES

14.1 Efficacy in Participants 16 Years of Age and Older

Study 2 is an ongoing, multicenter, multinational, randomized, placebo-controlled, observer-blind, dose-finding,
vaccine candidate–selection, and efficacy study in participants 12 years of age and older. Randomization was
stratified by age: 12 through 15 years of age, 16 through 55 years of age, or 56 years of age and older, with a
minimum of 40% of participants in the ≥56-year stratum. The study excluded participants who were
immunocompromised and those who had previous clinical or microbiological diagnosis of COVID-19.
Participants with preexisting stable disease, defined as disease not requiring significant change in therapy or

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hospitalization for worsening disease during the 6 weeks before enrollment, were included as were participants
with known stable infection with HIV, hepatitis C virus (HCV), or hepatitis B virus (HBV).

In Study 2, based on data accrued through March 13, 2021, approximately 44,000 participants 12 years of age
and older were randomized equally and received 2 doses of COMIRNATY or placebo. Participants are planned
to be followed for up to 24 months, for assessments of safety and efficacy against COVID-19.

Overall, among the total participants who received COMIRNATY or placebo, 51.4% or 50.3% were male and
48.6% or 49.7% were female, 79.1% or 79.2% were 16 through 64 years of age, 20.9% or 20.8% were 65 years
of age and older, 81.9% or 82.1% were White, 9.5% or 9.6% were Black or African American, 1.0% or 0.9%
were American Indian or Alaska Native, 4.4% or 4.3% were Asian, 0.3% or 0.2% Native Hawaiian or other
Pacific Islander, 25.6% or 25.4% were Hispanic/Latino, 73.9% or 74.1% were non-Hispanic/Latino, 0.5% or
0.5% did not report ethnicity, 46.0% or 45.7% had comorbidities [participants who have 1 or more
comorbidities that increase the risk of severe COVID-19 disease: defined as subjects who had at least 1 of the
Charlson comorbidity index category or body mass index (BMI) ≥30 kg/m2], respectively. The mean age at
vaccination was 49.8 or 49.7 years and median age was 51.0 or 51.0 in participants who received
COMIRNATY or placebo, respectively.

Efficacy Against COVID-19

The population for the analysis of the protocol pre-specified primary efficacy endpoint included
36,621 participants 12 years of age and older (18,242 in the COMIRNATY group and 18,379 in the placebo
group) who did not have evidence of prior infection with SARS-CoV-2 through 7 days after the second dose.
The population in the protocol pre-specified primary efficacy analysis included all participants 12 years of age
and older who had been enrolled from July 27, 2020, and followed for the development of COVID-19 through
November 14, 2020. Participants 18 through 55 years of age and 56 years of age and older began enrollment
from July 27, 2020, 16 through 17 years of age began enrollment from September 16, 2020, and 12 through
15 years of age began enrollment from October 15, 2020.

For participants without evidence of SARS-CoV-2 infection prior to 7 days after Dose 2, vaccine efficacy
against confirmed COVID-19 occurring at least 7 days after Dose 2 was 95.0% (95% credible interval: 90.3,
97.6), which met the pre-specified success criterion. The case split was 8 COVID-19 cases in the
COMIRNATY group compared to 162 COVID-19 cases in the placebo group.

The population for the updated vaccine efficacy analysis included participants 16 years of age and older who
had been enrolled from July 27, 2020, and followed for the development of COVID-19 during blinded
placebo-controlled follow-up through March 13, 2021, representing up to 6 months of follow-up after Dose 2.
There were 12,796 (60.8%) participants in the COMIRNATY group and 12,449 (58.7%) in the placebo group
followed for ≥4 months after Dose 2 in the blinded placebo-controlled follow-up period.

SARS-CoV-2 variants of concern identified from COVID-19 cases for this age group from this data cutoff
include B.1.1.7 (Alpha) and B.1.351 (Beta). Representation of identified variants among cases in vaccine versus
placebo recipients did not suggest decreased vaccine effectiveness against these variants.

The updated vaccine efficacy information is presented in Table 7.




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Table 7: Vaccine Efficacy – First COVID-19 Occurrence From 7 Days After Dose 2, by Age
            Subgroup – Participants 16 Years of Age and Older Without Evidence of Infection and
            Participants With or Without Evidence of Infection Prior to 7 Days After Dose 2 – Evaluable
            Efficacy (7 Days) Population During the Placebo-Controlled Follow-up Period
       First COVID-19 occurrence from 7 days after Dose 2 in participants without evidence of prior
                                           SARS-CoV-2 infection*
                                     COMIRNATY                      Placebo
                                         a
                                       N =19,993                   Na=20,118
                                          Cases                       Cases
                                              b
                                           n1                          n1b            Vaccine Efficacy %
                                                   c   d
Subgroup                         Surveillance Time (n2 )    Surveillance Timec (n2d)       (95% CIe)
                                            77                         833                    91.1
All participants                      6.092 (19,711)             5.857 (19,741)           (88.8, 93.1)
                                            70                         709                    90.5
 16 through 64 years                  4.859 (15,519)             4.654 (15,515)           (87.9, 92.7)
                                             7                         124                    94.5
 65 years and older                    1.233 (4192)               1.202 (4226)            (88.3, 97.8)
  First COVID-19 occurrence from 7 days after Dose 2 in participants with or without* evidence of prior
                                           SARS-CoV-2 infection
                                     COMIRNATY                      Placebo
                                       Na=21,047                   Na=21,210
                                          Cases                       Cases
                                           n1b                         n1b            Vaccine Efficacy %
                                                   c   d                      c    d
Subgroup                         Surveillance Time (n2 )    Surveillance Time (n2 )        (95% CIe)
                                            81                         854                    90.9
All participants                      6.340 (20,533)             6.110 (20,595)           (88.5, 92.8)
                                            74                         726                    90.2
 16 through 64 years                  5.073 (16,218)             4.879 (16,269)           (87.5, 92.4)
                                             7                         128                    94.7
 65 years and older                    1.267 (4315)               1.232 (4326)            (88.7, 97.9)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
    SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
    prior to 7 days after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the endpoint.
    Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
    surveillance time.

Subgroup analyses of vaccine efficacy (although limited by small numbers of cases in some subgroups) did not
suggest meaningful differences in efficacy across genders, ethnic groups, geographies, or for participants with
obesity or medical comorbidities associated with high risk of severe COVID-19.

Efficacy Against Severe COVID-19

Efficacy analyses of secondary efficacy endpoints supported benefit of COMIRNATY in preventing severe
COVID-19. Vaccine efficacy against severe COVID-19 is presented only for participants with or without prior

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SARS-CoV-2 infection (Table 8) as the COVID-19 case counts in participants without prior SARS-CoV-2
infection were the same as those in participants with or without prior SARS-CoV-2 infection in both the
COMIRNATY and placebo groups.

Table 8: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16 Years of Age and
           Older With or Without* Prior SARS-CoV-2 Infection Based on Protocol† or Centers for
           Disease Control and Prevention (CDC)‡ Definition From 7 Days After Dose 2 – Evaluable
           Efficacy (7 Days) Population During the Placebo-Controlled Follow-up
                           Vaccine Efficacy – First Severe COVID-19 Occurrence
                                      COMIRNATY                    Placebo
                                            Cases                   Cases
                                                a
                                             n1                      n1a            Vaccine Efficacy %
                                  Surveillance Timeb (n2c) Surveillance Timeb (n2c)     (95% CId)
                                               1                      21                   95.3
 7 days after Dose 2d                   6.353 (20,540)          6.237 (20,629)          (70.9, 99.9)
              Vaccine Efficacy – First Severe COVID-19 Occurrence Based on CDC Definition
                                      COMIRNATY                    Placebo
                                            Cases                   Cases
                                             n1a                     n1a            Vaccine Efficacy %
                                  Surveillance Time (n2 ) Surveillance Timeb (n2c)
                                                     b   c
                                                                                        (95% CId)
                                               0                      31                    100
                    d                                           6.225 (20,593)         (87.6, 100.0)
 7 days after Dose 2                    6.345 (20,513)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
    SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
    prior to 7 days after Dose 2 were included in the analysis.
†
  Severe illness from COVID-19 is defined in the protocol as confirmed COVID-19 and presence of at least 1 of the following:
     • Clinical signs at rest indicative of severe systemic illness (respiratory rate ≥30 breaths per minute, heart rate ≥125 beats per
          minute, saturation of oxygen ≤93% on room air at sea level, or ratio of arterial oxygen partial pressure to fractional inspired
          oxygen <300 mm Hg);
     • Respiratory failure [defined as needing high-flow oxygen, noninvasive ventilation, mechanical ventilation or extracorporeal
          membrane oxygenation (ECMO)];
     • Evidence of shock (systolic blood pressure <90 mm Hg, diastolic blood pressure <60 mm Hg, or requiring vasopressors);
     • Significant acute renal, hepatic, or neurologic dysfunction;
     • Admission to an Intensive Care Unit;
     • Death.
‡
  Severe illness from COVID-19 as defined by CDC is confirmed COVID-19 and presence of at least 1 of the following:
     • Hospitalization;
     • Admission to the Intensive Care Unit;
     • Intubation or mechanical ventilation;
     • Death.
a. n1 = Number of participants meeting the endpoint definition.
b. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the endpoint.
    Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
c. n2 = Number of participants at risk for the endpoint.
d. Two-side confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
    surveillance time.

14.2     Efficacy in Adolescents 12 Through 15 Years of Age

A descriptive efficacy analysis of Study 2 has been performed in 2,260 adolescents 12 through 15 years of age
evaluating confirmed COVID-19 cases accrued up to a data cutoff date of September 2, 2021.

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The vaccine efficacy information in adolescents 12 through 15 years of age is presented in Table 9.

Table 9: Vaccine Efficacy – First COVID-19 Occurrence From 7 Days After Dose 2: Without Evidence
           of Infection and With or Without Evidence of Infection Prior to 7 Days After Dose 2 – Blinded
           Placebo-Controlled Follow-up Period, Adolescents 12 Through 15 Years of Age Evaluable
           Efficacy (7 Days) Population
  First COVID-19 occurrence from 7 days after Dose 2 in adolescents 12 through 15 years of age without
                                 evidence of prior SARS-CoV-2 infection*
                                   COMIRNATY                     Placebo
                                      Na=1057                    Na=1030
                                        Cases                     Cases
                                         n1b                       n1b              Vaccine Efficacy %
                               Surveillance Time (n2 ) Surveillance Timec (n2d)
                                                 c   d
                                                                                         (95% CIe)
 Adolescents                              0                         28                     100.0
 12 through 15 years of age         0.343 (1043)               0.322 (1019)             (86.8, 100.0)
   First COVID-19 occurrence from 7 days after Dose 2 in adolescents 12 through 15 years of age with or
                              without evidence of prior SARS-CoV-2 infection
                                   COMIRNATY                     Placebo
                                      Na=1119                    Na=1109
                                        Cases                     Cases
                                         n1b                       n1b              Vaccine Efficacy %
                                                 c   d                      c  d
                               Surveillance Time (n2 ) Surveillance Time (n2 )           (95% CIe)
                                                                      f
 Adolescents                              0                        30                      100.0
 12 through 15 years of age         0.362 (1098)               0.345 (1088)             (87.5, 100.0)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
    SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
    prior to 7 days after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the endpoint.
    Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-side confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted for
    surveillance time.
f. The only SARS-CoV-2 variant of concern identified from COVID-19 cases in this age group from this data cutoff was B.1.1.7
    (Alpha).

14.3     Immunogenicity in Adolescents 12 Through 15 Years of Age

In Study 2, an analysis of SARS-CoV-2 50% neutralizing titers (NT50) 1 month after Dose 2 in a randomly
selected subset of participants demonstrated non-inferior immune responses (within 1.5-fold) comparing
adolescents 12 through 15 years of age to participants 16 through 25 years of age who had no serological or
virological evidence of past SARS-CoV-2 infection up to 1 month after Dose 2 (Table 10).




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Table 10: Summary of Geometric Mean Ratio for 50% Neutralizing Titer – Comparison of Adolescents
           12 Through 15 Years of Age to Participants 16 Through 25 Years of Age (Immunogenicity
           Subset) – Participants Without Evidence of Infection up to 1 Month After Dose 2 – Dose 2
           Evaluable Immunogenicity Population
                                              COMIRNATY
                             12 Through 15 Years 16 Through 25 Years           12 Through 15 Years/
                                     na=190                 na=170              16 Through 25 Years
                                                                                              Met
                                                                                         Noninferiority
                    Time             GMTc                   GMTc              GMRd         Objectivee
                           b                c                      c                  d
 Assay              Point          (95% CI )              (95% CI )         (95% CI )        (Y/N)
 SARS-CoV-2
 neutralization    1 month
 assay - NT50        after           1253.6                  708.1              1.77
 (titer)f           Dose 2      (1117.7, 1406.1)        (625.9, 801.1)      (1.50, 2.09)       Y
Abbreviations: CI = confidence interval; GMR = geometric mean ratio; GMT = geometric mean titer; LLOQ = lower limit of
quantitation; NAAT = nucleic-acid amplification test; NT50 = 50% neutralizing titer; SARS-CoV-2 = severe acute respiratory
syndrome coronavirus 2.
Note: Participants who had no serological or virological evidence (up to 1 month after receipt of the last dose) of past SARS-CoV-2
infection (i.e., N-binding antibody [serum] negative at Visit 1 and SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and
2), and had negative NAAT (nasal swab) at any unscheduled visit up to 1 month after Dose 2 were included in the analysis.
a. n = Number of participants with valid and determinate assay results for the specified assay at the given dose/sampling time point.
b. Protocol-specified timing for blood sample collection.
c. GMTs and 2-sided 95% CIs were calculated by exponentiating the mean logarithm of the titers and the corresponding CIs (based
     on the Student t distribution). Assay results below the LLOQ were set to 0.5 × LLOQ.
d. GMRs and 2-sided 95% CIs were calculated by exponentiating the mean difference of the logarithms of the titers (Group 1
     [12 through 15 years of age] – Group 2 [16 through 25 years of age]) and the corresponding CI (based on the Student t
     distribution).
e. Noninferiority is declared if the lower bound of the 2-sided 95% CI for the GMR is greater than 0.67.
f. SARS-CoV-2 NT50 were determined using the SARS-CoV-2 mNeonGreen Virus Microneutralization Assay. The assay uses a
     fluorescent reporter virus derived from the USA_WA1/2020 strain and virus neutralization is read on Vero cell monolayers. The
     sample NT50 is defined as the reciprocal serum dilution at which 50% of the virus is neutralized.

16 HOW SUPPLIED/STORAGE AND HANDLING

Single Dose Vials: COMIRNATY is a suspension for intramuscular injection. Single dose vials with gray caps
and labels with gray borders are supplied in a carton containing 10 single dose vials. One vial contains 1 dose of
0.3 mL.
    • Carton of 10 single dose vials: NDC 0069-3125-10
    • Single dose vial: NDC 0069-3125-01

Multiple Dose Vials: COMIRNATY is a suspension for intramuscular injection. Multiple dose vials with gray
caps and labels with gray borders are supplied in a carton containing 10 multiple dose vials or 25 multiple dose
vials. One vial contains 6 doses of 0.3 mL.
    • Carton of 10 multiple dose vials: NDC 0069-2025-10
    • Carton of 25 multiple dose vials: NDC 0069-2025-25
    • Multiple dose vial: NDC 0069-2025-01

During storage, minimize exposure to room light, and avoid exposure to direct sunlight and ultraviolet light.

Do not refreeze thawed vials.



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Vial Storage Prior to Use

Cartons of COMIRNATY single dose vials and multiple dose vials with gray caps and labels with gray borders
will arrive frozen at ultra-cold conditions in thermal containers with dry ice.

Once received, frozen vials may be immediately transferred to the refrigerator [2ºC to 8ºC (35ºF to 46ºF)],
thawed and stored for up to 10 weeks. The 10-week refrigerated expiry date should be recorded on the carton at
the time of transfer. A carton of 10 single dose vials may take up to 2 hours to thaw at this temperature.
A carton of 10 multiple dose vials may take up to 6 hours to thaw at this temperature.

Alternatively, frozen vials may be stored in an ultra-low temperature freezer at -90ºC to -60ºC (-130ºF to -76ºF).
Do not store vials at -25°C to -15°C (-13°F to 5°F). Once vials are thawed, they should not be refrozen.

If cartons of COMIRNATY single dose vials or multiple dose vials with gray caps and labels with gray borders
are received at 2°C to 8°C, they should be stored at 2°C to 8°C. Check that the carton has been updated to
reflect the 10-week refrigerated expiry date.

Regardless of storage condition, the vaccine should not be used after the expiration date printed on the vial and
cartons.

Vial Storage During Use

If not previously thawed at 2ºC to 8ºC (35ºF to 46ºF), allow COMIRNATY single dose vials and multiple dose
vials to thaw at room temperature [up to 25ºC (77ºF)] for 30 minutes.

DO NOT DILUTE SINGLE DOSE VIALS OR MULTIPLE DOSE VIALS PRIOR TO USE.

COMIRNATY single dose vials and multiple dose vials with gray caps and labels with gray borders may be
stored at room temperature [8°C to 25°C (46°F to 77°F)] for a total of 12 hours prior to the first puncture. After
first puncture, multiple dose vials should be held between 2ºC to 25°C (35°F to 77°F). Multiple dose vials
should be discarded 12 hours after first puncture.

Transportation of Vials

If local redistribution is needed, single dose vials and multiple dose vials may be transported at -90°C to -60°C
(-130°F to -76°F), or at 2°C to 8°C (35°F to 46°F).

17 PATIENT COUNSELING INFORMATION

Inform vaccine recipient of the potential benefits and risks of vaccination with COMIRNATY.

Inform vaccine recipient of the importance of completing the 2 dose vaccination series.

There is a pregnancy exposure registry for COMIRNATY. Encourage individuals exposed to COMIRNATY
around the time of conception or during pregnancy to register by visiting https://mothertobaby.org/ongoing-
study/covid19-vaccines/.

Advise vaccine recipient to report any adverse events to their healthcare provider or to the Vaccine Adverse
Event Reporting System at 1-800-822-7967 and www.vaers.hhs.gov.


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Prior to administering the vaccine, give the vaccine recipient the Vaccine Information Fact Sheet for Recipients
and Caregivers about COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19
Vaccine to Prevent Coronavirus Disease 2019 (COVID-19) for Use in Individuals 12 Years of Age and Older.
The Vaccine Information Fact Sheet for Recipients and Caregivers is available at www.cvdvaccine-us.com.

This product’s labeling may have been updated. For the most recent prescribing information, please visit
https://dailymed.nlm.nih.gov/dailymed/.


Manufactured for
BioNTech Manufacturing GmbH
An der Goldgrube 12
55131 Mainz, Germany




Manufactured by
Pfizer Inc., New York, NY 10017


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